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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


  UNITED STATES OF AMERICA,
                                                        Case No. 06-20465
           Plaintiff,
                                                        Honorable Nancy G. Edmunds
  v.

  D-91 TERRY SMITH,

           Defendant.
                                            /


       ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS EVIDENCE [2092]


        Defendant is charged in an Indictment with Possession with Intent to Distribute

  Controlled Substances, in violation of 21 U.S.C. § 841(a)(1), and with Felon in Possession

  of a Firearm, in violation of 18 U.S.C. § 922(g). The charges arise out the execution of a

  state search warrant for 1666 Lawndale, Detroit, Michigan.

        At a hearing held on July 26, 2011, this matter came before the Court on Defendant’s

  motion to suppress evidence seized during the execution of the search warrant. For the

  reasons stated below, Defendant’s motion to suppress is DENIED.

  I.    Facts

        On October 7, 2008, Deputy Argiris Xenos, a member of the Wayne County Narcotic

  Enforcement Unit who was involved in a controlled substances investigation of the

  residence located at 1666 Lawndale, Detroit, Michigan, applied for a search warrant for that

  location. (Def.’s Ex. A, Search Warrant and Affidavit at 1.) The Affidavit in support of that

  search warrant (the “Affidavit”) stated that:
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        On October 6, 2008, crewmembers of the Wayne County Sheriff Narcotics
        Enforcement Unit were conducting a push off operation with the target location
        being 1666 Lawndale, in the City of Detroit. During the course of the Push
        Off/surveillance, the crew observed three (3) suspected buyers on separate
        occasions drive up to the location and go to the front of the location where they
        would go through a wooden privacy fence and go to the side door of the location.
        A minute later they would exit from the location and return to their vehicles.
        Once the suspected buyers left the area, crewmembers conducted an
        investigation of one person, making sure the buyer made no stops or have [sic]
        conversation with any other persons, other than the crew. During the course of
        the investigation, the suspected buyer was in possession of suspected Vicodin
        tablets, which the buyer stated was purchased from 1666 Lawndale.

        Based on the above information, observations and the confiscation of suspected
        Vicodin from the investigated individual and the affiants [sic] training and
        experience, (four years as a sworn Officer) the affiant has probable cause to
        believe that Vicodin and other illegal narcotics will be found on the premises
        listed above.

        Based upon the purchase of the suspected Vicodin, it is believed that Vicodin
        and other illegal items are being stored and sold from within the above location.
        Affiant believes that the Vicodin is being stored at the above location for the
        purpose of illegal narcotic trafficking, which are [sic] in violation of the Michigan
        Controlled Substances Act (VPHQ). Based on the information, the surveillance,
        and the investigation, this request for a search warrant is made.

  (Id. at 2.)

        On October 7, 2008, the search warrant and supporting Affidavit were presented to

  and signed by a Judge/Magistrate for the 36th District Court, Wayne County, Michigan.

  The Search Warrant was executed on October 7, 2008, and controlled substances and a

  firearm were seized from 1666 Lawndale, Detroit, Michigan.

  II.   Analysis

        Defendant argues that the search warrant affidavit lacks probable cause because (1)

  it was “bare bones,” (2) lacked specificity as to the affiant’s specific training and experience

  in narcotics enforcement, (3) lacked independent corroboration for the Vicodin buyer’s

  statement to police that he purchased the Vicodin from the location to be searched, and (4)

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  contained information that was stale.

       A. General Principles

       The principles that guide the Court’s determination whether probable cause was

  established were recently discussed by the Sixth Circuit in United States v. Lyna Brooks,

  594 F.3d 488 (6th Cir.), cert. denied, 130 S. Ct. 3403 (2010):

       To establish probable cause adequate to justify issuance of a search warrant,
       the governmental entity or agent seeking the warrant must submit to the
       magistrate an affidavit that establishes "a fair probability that contraband or
       evidence of a crime will be found in a particular place." United States v. Berry,
       565 F.3d 332, 338 (6th Cir. 2009) (quoting Illinois v. Gates, 462 U.S. 213, 236
       (1983)). Whether the affidavit gives rise to this fair probability "depends on the
       totality of the circumstances." [United States v.] Frazier, 423 F.3d 526, 531 (6th
       Cir. 2005) (citing Gates, 462 U.S. at 230). "The probable cause standard is a
       'practical, non-technical conception' that deals with the 'factual and practical
       considerations of everyday life.'" Id. (quoting Gates, 462 U.S. at 231).

           When a warrant applicant seeks to search a specific location, the affidavit
       must establish "a nexus between the place to be searched and the evidence to
       be sought." United States v. Carpenter, 360 F.3d 591, 594 (6th Cir. 2004) (en
       banc). "The critical element in a reasonable search is not that the owner of
       property is suspected of crime but that there is reasonable cause to believe that
       the specific 'things' to be searched for and seized are located on the property to
       which entry is sought." Frazier, 423 F.3d at 532 (quoting Zurcher v. Stanford
       Daily, 436 U.S. 547, 556 (1978)).

                                            ***

            Furthermore, in seeking to establish probable cause to obtain a search
       warrant, the affidavit may not employ "stale" information, and whether
       information is stale depends on the "inherent nature of the crime." United States
       v. Spikes, 158 F.3d 913, 923 (6th Cir. 1998) (quoting United States v. Henson,
       848 F.2d 1374, 1382 (6th Cir. 1988)). Whether information is stale in the context
       of a search warrant turns on several factors, such as "the character of the crime
       (chance encounter in the night or regenerating conspiracy?), the criminal
       (nomadic or entrenched?), the thing to be seized (perishable and easily
       transferable or of enduring utility to its holder?), [and] the place to be searched
       (mere criminal forum of convenience or secure operational base?)." United
       States v. Hammond, 351 F.3d 765, 771-72 (6th Cir. 2006) (quoting United States
       v. Greene, 250 F.3d 471, 480-81 (6th Cir. 2001)). In the context of drug crimes,
       information goes stale very quickly "because drugs are usually sold and

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       consumed in a prompt fashion." United States v. Frechette, 583 F.3d 374, 378
       (6th Cir. 2009).

  Id. at 492-93.

       B. Probable Cause is Established

       Despite Defendant’s claims to the contrary, the challenged Affidavit provided the

  issuing judge with a “substantial basis for . . . conclud[ing] that probable cause existed.”

  Gates, 462 U.S. at 238-39 (internal quotation marks and citation omitted). The Affidavit

  was neither "bare bones" nor stale. Rather, it provided detailed facts of surveillance that

  suggested drug trafficking from 1666 Lawndale and described continued surveillance and

  investigation of a suspected “buyer” who was observed leaving that location and admitted

  to police that the Vicodin in his possession was purchased from that location, thus

  corroborating the affiant’s suspicion that illegal activity was occurring at the place to be

  searched, i.e., observations on October 6, 2008 of three suspected buyers coming to the

  home, entering it and leaving after a few minutes; continued surveillance of and contact

  with one of the suspected buyers who was observed leaving 1666 Lawndale; and that

  suspected buyer’s admission that he had purchased the Vicodin tablets that were in his

  possession from an individual located inside the residence located at 1666 Lawndale. The

  Search Warrant and Affidavit expressly identified the affiant as a member of the Wayne

  County Narcotic Enforcement Unit, stated that he was working on a controlled substance

  investigation of the residence to be searched, and further stated that, based on the affiant’s

  four years of training and experience, he believed it was likely that evidence of drug

  dealing, i.e., Vicodin, would be found at 1666 Lawndale in Detroit, Michigan.            The

  information in the Affidavit was not stale because it was prepared and the search warrant


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  was issued within 24 hours after the above-described Vicodin purchase occurred. Even

  though the Affidavit did not contain any facts supporting the buyer’s reliability other than the

  police’s own surveillance and investigation of the buyer, that corroboration provided

  sufficient probable cause for the issuance of the search warrant. See, e.g., United States

  v. Sales, 247 F. App’x 730, 734 (6th Cir. 2007) (observing that, even though the warrant

  affidavit did not contain any facts supporting the CI’s reliability, the officer’s “corroboration

  of the CI’s controlled buy provided sufficient probable cause for the issuance of the search

  warrant.”); see also, United States v. Coffee, 434 F.3d 887, 894 (6th Cir. 2006) (same);

  United States v. Jackson, 470 F.3d 299, 308 (6th Cir. 2006) (same).

       B. Alternatively, Leon Good Faith Exception Would Apply

       Even if this Court were to find that the Affidavit failed to establish probable cause, the

  good faith exception to the exclusionary rule would apply here. The exclusionary rule does

  not bar evidence obtained by officers acting in reasonable reliance on a search warrant that

  is subsequently held to be invalid. See United States v. Leon, 468 U.S. 897, 905 (1984)

  (modifying the exclusionary rule so as not to bar from admission evidence “seized in

  reasonable, good-faith reliance on a search warrant that is subsequently held to be

  defective”). “[T]he relevant question is whether the officer reasonably believed that the

  warrant was properly issued, not whether probable cause existed in fact.” United States v.

  Hython, 443 F.3d 480, 487 (6th Cir. 2006) (internal quotations and citation omitted)

  (emphasis in original). Where an officer’s reliance on a warrant is objectively reasonable,

  the Leon Court held, no additional deterrent effect will be achieved through the exclusion

  from evidence of the fruits of that search. See Leon, 468 U.S. at 922.

       There are four circumstances where the Leon good faith exception cannot be applied:

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  (1) the issuing magistrate was misled by information in the Affidavit that the Affiant either

  knew was false or should have known was false except for the Affiant’s reckless disregard

  for the truth; (2) the issuing magistrate failed to act in a neutral and detached manner; (3)

  the Affidavit is so lacking in indicia of probable cause as to render official belief in the

  existence of probable cause entirely unreasonable; and (4) the search warrant was facially

  deficient in that it failed to describe with particularity the things to be seized and the place

  to be searched. Leon, 468 U.S. at 914-15. None of the above circumstances are present

  here. There is no evidence of false information in the Affidavit. There is no evidence that

  the magistrate abandoned his neutral and detached role. There is no claim that the warrant

  failed to particularize the items to be seized and the place to be searched.              More

  importantly, the Affidavit was not so lacking in indicia of probable cause as to render official

  belief in the existence of probable cause entirely unreasonable. Rather, as discussed

  above, a reasonable officer would have concluded that there was probable cause to

  search. See Frazier, 423 F.3d at 536-37 (observing that the Sixth Circuit has “previously

  found Leon applicable in cases where we determined that the affidavit contained a

  minimally sufficient nexus between the illegal activity and the place to be searched even

  if the information provided was not enough to establish probable cause.”). Thus,

  Defendant’s motion to suppress fails for this alternative reason.

  III.   Conclusion

         For the above-stated reasons, Defendant’s motion to suppress the evidence seized

  during execution of the search warrant for 1666 Lawndale, Detroit, Michigan is DENIED.




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                 s/Nancy G. Edmunds
                 Nancy G. Edmunds
                 United States District Judge

  Dated: July 28, 2011

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on July 28, 2011, by electronic and/or ordinary mail.

                 s/Carol A. Hemeyer
                 Case Manager




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